Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 0/20/0ES.ASTRIGT COURT
EASTERN DISTRICT OF LOUISIANA

AQ 399 (Rev. 10/95}

FILED
OCT 20 2006 yw

WAIVER OF SERVICE OF SUMMONS
LORETTA G. WHYTE

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans} Li..w0ils
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)
+ me,
I Voyager Indemnity _ acknowledge receipt of your request oN

(DEFENDANT NAME)

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 K in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means ~ '
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behaif | am acting) be served with judicial process in
the manner provided by Rule 4.

! (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose le | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after OQ QS | D&
(DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

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DATE

AD ri ame:
come iNis TRATOR Name:

As ISION of Voyager Indemnity
(TITLE) {CORPORATE DEFENDANT)

Buty to Aveid Unnecessary Costs of Service of Summons

Rute 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant locatad in tha United States who, aftar baing notified af an action and asked by a plaintiff located In the United States to waive
service of a summons, fails to do so will be required to bear the cost of such service unless good cause be shown far its failure to sign and retum the
walver. It is net good cause for a failure ta waive service that a party believes that the complaint is unfounded, or that the action has been brought in an
improper place or in a court thal lacks jurisdiction over the subject mattar of the action cr over its person of property A parly waives service of the summons
retains alt defenses and objections ( ot any relating to the or ta the service of the summons), and may later cb]ect to the jurisdiction of the
court or to the place where the action has bean brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attomey (or unrepresented plaintiff) a
response to the complaint and must also fila a signed copy of the response with the court. If the answer or motion is not served within this time, a defaut
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_._ Doc. No

Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 2 of 32

AQ 399 (Rev. 10/95}

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTE® PLAINTIFF)

| USAA Genl IndemnCo
(DEFENDANT NAME)

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SEp 26 2006 Printed/Typed Name:

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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 3 of 32

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AO 399 (Rev. 10/95}

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTE® PLAINTIFF)

I Western World Ins
(DEFENDANT NAME}

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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 4 of 32

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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 5 of 32

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

TO. Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

United Natl CasIns , acknowledge receipt of your request
(DEFENDANT NAME)

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SEP “6 2006 Printed/Typed Name:
ADMINISTR United Natl CasIns
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 6 of 32
AD 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Brunc, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I United Fire &CasCo , acknowledge receipt of your request
(DEFENDANT NAME)

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of United Fire &CasCo
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 7 of 32

AQ 399 (Rav. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
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, EP 9 & ZOO gPrinted/Typed Name: Oo
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 8 of 32

AO 399 (Rev. 10/95}

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Joseph M. Bruno

To: Joseph M. Bruno, §55 Baronne Street, New Orleans, LA 70113
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DATE we { / sicnature
A D nted/Typed Name
CommelN IS7. he ; Bankers Stand Fire
Cif £ ly G (TITLE) (CORPORATE DEFENDANT)
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 9 of 32

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Bankers Ins Co _ acknowledge receipt of your request
(DEFENDANT NAME) .

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HELEN CUMBO Lolo, | Combe

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Printed/Typed Name:

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Bankers Ins Co
(FITLE} (CORPORATE DEFENDANT}

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SERVED ON
HELEN CUMBO
DATE SEP 26 2096 v . {_ flonaTure

Printed/Typed Name:

ADMINISTRATOR
COMMERCIAL DIVISION of USAA Casualty Ins

(TITLE) {CORPORATE DEFENDANT)

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service of a summons, fails to de so will be required to bear the cost of such service unless good cause be shown for ifs failure to sign and retum the
WANET- itis not good cause for a failure to waive service that a party believes thal the complaint i¢ unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person of properly A party waives service of the summons
retains all defanses and objections (except any ralating to the summons or to the service of tha summons), and may later object to the jurisdiction of the
court of ta the place whare the action has been brought.

A defendant who waives servica must within the fima spacified on the waiver form sarve on the plaintiff's attomey (or unrepresented plaintiA) a
response fo the complaint and must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a default
j may be taken against thet defendant. By waiving service, a defendant is allowed more time to ihan if ihe had been actually
served when the requast for waiver of service was received.

* Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 11 of 32

AO 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Travelers Ins Am , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 9 2S { Ol 1
(DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

SERVED
HELEN CUmBo
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DATE SEP 9 6 2008 {_ #iGNATURE

Printed/Typed Name:

oMMeAMSTR FOR of travelers Ins Am

AL D SION (TITLE) (CORPORATE DEFENDANT)

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties lo cooperate in saving unnecessary costs of service of the summons and
complain A defendant located in the Linited States who, after being notified of an action and asked by a plaintiff located in tha United States to waive
service of a summons, faiis ta do se will be required to bear the cost of such service unless good cause be shown for its faiiure to sign and retum the

waiver.

it is not good cause for a failure 10 waive service that a party believes that the complaint is unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property A party waives service of the summons
retains all defenses and objections (except any relating to the summons or to ihe service of the summons), and may later object to the jurisdiction of tha
court or to the place where the action has been brought.

A defendant who waives service musi within the time specified on the waiver form serve on the plaintiff's attomey (or unrepresented plalntif} a
response to the complaint and must also file a signed copy of the response wilh tha court, H ihe answer or motion is not served within this time, a default
judgment may be taken against thal defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of servica was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 12 of 32

AO 299 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To. Joseph M. Brunc, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Bankers Standard
(DEFENDANT NAME}

, acknowledge receipt of your request

that { waive service of summons in the action of Connie Abadie, et al_v. Aegis, etal |
{CAPTION OF ACTION}

which is case number 66-5164 in the United States District Court
(GOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me-

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that ! {or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting} will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting}

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{DATE REQUEST WAS SENT)

or within 90 days aiter that date if the request was sent outside the United States.

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DATE SEP Z& 2008 SIGHATPBRE
ADMINISTRA Printed/Typed Name:
COMMERCIAL DIVISION of Bankers Standard
(TITLE) (CORPORATE DEFENDANT)

Duly to Avoid Unnecessary Costs of Service of Summons

Rute 4 of the Federal Rules of Civil Procedura requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after baing notified of an action and asked by a plaintiff located in the United States to waive
service of @ summons, fails t¢ do so wit! be required to Ogar the cost of such service unless good cause be shown for its failure to sign and return the
waiver

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Improper place or in a court that lacks jurisdiction over the subject matter of the action ar ovar its person or property A party waives service of the summons
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court or te the place where the action has been broughL

A defendant whe waives service must within the time specified on the waiver form serve on the olaintiff's aitornsy (or unrepresented plaintiff) a
response ta the complaint and must also file a signed copy of the response with tha court If tha anewer or motion is nol served within this time, a default
judgment may oe taken against that defendant. By walving service, a defendant is allowed more time to answer than if the summons had been actuaily
served when the request for walver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 13 of 32

AQ 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To. Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

i Travelers Ind Amer
(DEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

! understand that a judgment may be entered against me (or the party on whose behalf | am acting)
if an answer or motion under Rule 12 is not served upon you within 60 days after AIBS jo

(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.

DATE HELENCumBO 7
SEPG é 2008 Printed/Typed Name:

of Travelers Ind Amer
ADMINISTRATOR (TITLE) (CORPORATE DEFENDANT)

MMERCIAL DIVISION

Duty to Avoid Unnecessary Costs of Sarvice of Summons

_ Rule 4 of the Federal Rules of Civil Procedure requires cerlain parties ta cooperate in saving unnecessary costs of service of the summons and
cx Ad t located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to ¢o so will bs required to bear the cost of such service unless good cause be shown for its failure to sign and retumn the
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court or to the place where ihe action has been brought.

A defendant whe waives service must within the time specified on ihe waiver form serve on tha plaints attomey (or unreprasented plaintiff} a
response to the complaint and must also file a signed copy of the response with the cour. If the answer or motion is not served within this time, 4 default
judgment may be taken against that defendant. By waiving service, a defandant ig allowed more time to answer than if the summons had been actually
served when the request for waiver of service was received.

Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 14 of 32

AQ 309 (Rav. +0198)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

\ _Columbia Ins Co _ acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the. Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after Gas Ot

(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
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, Printed/Typed Name:
ADMINIS
COMMERCI AL Recon of Columbia Ins Co
(TITLE) (CORPORATE DEFENDANT)

Buty to Avoid Unnecessary Costs of Service of Summans

Rule 4 of the Federal Rules of Civil Procedure requires certaln parties to cooperate in saving unnecessary costs of service of the summans and
complaint. A defendant located in tha United States who, after baing notified of an action and asked by a plaintiff tocated in tha United States to waive
service of a summons, fails to de $0 will be required to bear the cost of such service unless good cause be shown for iis failure to sign and retum the
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A defendant who waives service must within the time specified on the walver form serve on the plaintiff's attomey (or unraprasented plaintiff) a
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judgment may be taken against ihat defendant. By waiving service, a defendant is allowed more tine to answer than if the summons had been actually
served when the request for walver of sarvica was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 15 of 32

AQ 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Colonial American

, acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al _v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Rastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me. ,

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| for the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after FG i aS l[Ow
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

sooo Lb | Abe
HELEN CUMBO CA

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DATE ° RIQNATURE
S E P ze € 2008 vinteatyped Name:
ADMINIS,RATOR of Colonial American
COMMERCIAL DIVISION = ame) (CORPORATE DEFENDANT)

Duty te Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parlies to cooperate in saving unnecassary costs of sarice of tha summons and
complaint. A defendant located in the Linited States who, after being nolified of an action and asked by a plaintiff located in the United States io walve
service of a summons, fails to do so will ba required to bear the cost of such sarvica unless good cause be shown for its failure ta sign and retum the

WAIVER.» is not good cause for a failure to waive service thal a party believes that tha complaint is unfounded, or that the action has been brought in an
improper place of in a court that lacks jurisdiction aver the subject matter of the action ar over iis person or property A party waives service of the summons
retains all defenses and objections (except any retating to the summons or to the service of the summons), and may later abject to the jurisdiction of the
court or to the place where the action has been brought

A defendant who waives service must within tha time specified on the waiver form serve on the plaintifi's attomey {ar unrepresented plaintiff) a
response to the complaint and must also file a signed copy cf tha response with tha court. Ifthe answer or motion is nol served within this time, a defautt
judgment may ba taken against that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of servica was received,
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 16 of 32

AQ 389 {Rev. 10198)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

I Travelers Indem Co , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al_v. Aegis, etal |

{CAPTION GF ACTION}
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | for the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after & [. AS l Ol '
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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DATE S E P26 20 06 SIGNALORE
ADMIN ISTRATOR Name:
COMMERCIAL AIVISION of Travelers Indem Co
(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Coste of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in tha United States to waive
service of a summons, fails ta do so will ba required to bear the cost of such service unless good cause be shown for its failure to sign and retum the
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retains all defenses and objections (except any relating to the summons or to the service of tne summons), and may later object to the jurisdiction of the
court of to the place where the action has been brought.

A defandant who waives servica must within the fime spacified an tha waiver form serve on tha plaintiffs atiomey (or unrepresented plaintiff} a
response to the complaint and must also file a signed copy of ihe response with the court. Hf the answer or motion is not served within this time, a default
judgment may be taken against that defendant. By waiving service, a defendant is allowed mora fima ta answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 17 of 32

AO 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Jeseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

' Compass Ins Co , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| {or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

[| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after o AS | Kh '

(DATE REQUEST WAS SENT)
ar within 90 days after that date if the request was sent outside the United States.
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IAL V
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(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain partias bo cooperate in saving unnecessary costs of service of [ha summons and
complaint, A defendant located in the United States who, alter being notified of an action and asked by a plaintiff located in the United States to waive
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court or ta tha place where the action has been brought

A defendant who waives servica must within ihe time specified on the waiver farm serve on the plaintiff's attomey (or unrepresented plamtiff) a
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may be taken against that defendant. By waiving service, a defendant |s allowed more time to answer than if the summons had been actually
served when the request for waiver of service was recebved.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 18 of 32

AG 299 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M, Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME GF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

Encompass Prop. , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

I have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree fo save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf! am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the !awsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 9 / o 2 /Ow
{DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

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(TITLE) (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

Rula 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located im the United States to waive
servica of a summons, fails to do so will be required to bear the cost of such service unlass good cause be shown for its failure to sign and retum the
waiver.

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retains ai! defanges and objections (except any relating to the summons or to the sarvice of the summons), and may later object to the jurisdiction of tne
court or to the place where the action has bean brought

A defandant who waives service must within the time specified on the waiver form serve on the plaintiff's attomey (or urapresented plaintiff) a
response to tis complaint and must also fila a signed copy of the response with the court. If tha answer or motion is not served within this time, 4 defauit
judgment may be taken against that defendant, By waiving service, a defendant is allowed more time to answer than if the summons had been actually
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 19 of 32

AO 399 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME GF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

! Zurich London , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al _v. Aegis, etal |

(CAPTION GF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

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lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 3 / 2S | Oto

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or within 90 days after that date if the request was sent outside the United States.
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AD MIN IS Printed/Typed Name:
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COMMERCIA, OR . of Zurich London
IGN CTITLE} (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs of Service of Summons

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complaint. A defendant jocated in the United States who, after basing notified of an action and asked by a plaintiff located in the United States to waive
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improper place of in a court that lacks jurisdiction aver the subject matter of the action or over its person or property A party waivas service of the summons
fetains all defenses and objections (axcept any refating to the summons of bo the service of the summons}, and may later object te the jurisdiction of the
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A defendant wha waives service must within the time specified on ihe waiver form serve on the plaintiff's attomey (or unrepresented plaintiff) a
response to the complaint and must also file a signed copy of the response with the court If ine answer or motion is not served within this time, a default
judgment may be taken against that defendant By waiving service, a defendant is allowed more time to than if the = hed baan aciuall
served when the request far waiver of service was received.

Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 20 of 32
0 300 (Rev. 40486)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I United Natl Sp Ins , acknowledge receipt of your request
{DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al _v. Aegis, etal |

(CAPTIGN OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose les | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after q aS | OG
{DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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DATE § . ‘ S/GNATURE
Ap cP é C 20.0 Rrinted/Typed Name:
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Buty te Avoid Unnecessary Coste of Service of Summons

Rute 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
complaint. A defendant located in tha United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
sarvica of a summons, fails to do so will be required to bear the cost of such service unless good cause ba shown for its failure to sign and return the

waiver.

Itis net good cause for a failure ta waive service that a party beliaves that the complaint is unfounded, or thet the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its person or property A party waives service of the summons
retain all defanges and objections (except any relating te the summons or to the service af the summons}, and may later object to the jurisdiction of the
court or to the place where the action has been brought

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attomsy {for unrepresented plaintiff) a
response to the complaint and must also fila a signed copy of tha response with tha court If tire angwer or motion is nol served within this time, a default
judgment may be taken against thet defandant, By waiving service, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 21 of 32

AQ 395 (Rev. 1095)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

United Natl Ins Co , acknowledge receipt of your request
(GEFENDANT NAME)

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)

which is case number 06-5164 in the United States District Court
(DOGKET NUMBER)

for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of thea summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after S aS OL
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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Duty ta Avoid Unnecessary Costs of Service of Summons

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complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in tha United Slates to waive
service of a summons, fails to de $a will be required to bear ihe cost of such service unless good cause be shown for ils failure to sign and retum the

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court or to the place where the action has been brought.

A defendant who waives sarvice must within the time specified on tie waiver form serve on the plaintiff's attomey (cr unrepresented plalntif} a
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served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 22 of 32
AO 399 (Rev. 10/95}
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Washington Interna
(DEFENDANT NAME)

, acknowledge receipt of your request

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me-

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the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons aor in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose fis | am acting)

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if an answer or motion under Rute 12 is not served upon you within 6G days after a

(DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
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Washington Interna
{TITLE} (CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Coste of Service of Summons

Rule 4 of tha Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of tha summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive
service of & summons, Fails te do so will be required to Sear tha cost of such service unless good cause ba shown for its failure to sign and retum tha
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court of te the place where the action has been brought

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respons to the complaint and must also file a signed copy of tha response with the court If tits answer or motion is nol served within this time, a default
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served when the request for waiver of service was received,

Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 23 of 32

AQ 395 (Rev, 10/95)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Armed Forces Ing
(DEFENDANT NAME)

, acknowledge receipt of your request

that I waive service of summons in the action of COMBie Abadie, et al v. Aegis, etal

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
{DOCKET NUMBER}
for the Eastern District of Louisiana

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by which I can return the signed waiver to you without cost to me.

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the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after q 2S lOle
(BATE REQUEST WAS SENT)

or within 90 days aiter that date if the request was sent outside the United States.

SERVED ON

HELEN CUMBO U/. (1 ),—

DATE SEP 26 2006"

Printed Typed Name:

ADMINISTRATOR

ofpmed Forces Ins
COMMERGH tts BIVeSIONE {CORPORATE GEFENDANT)

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of tha Federa! Rules of Civil Procedure requires cerlain parties to cooperate in saving unnecessary costs of service of tha summons and
complainl Ad in the United States who, after being notified of an action and asked by a plaintif located in the United States to waive
service of a summors, fails to do so will be required ta bear the cos! of such service unless good cause be shown for its failure to sign and retum the

Mer i is not good cause for 4 failure to waive service thai 4 party believes that the complaint is unfounded, or that the action has bean brought in an
improper place orina court that lacks jurisdiction over ihe subject matter of the action or over its person oF property A party waives service of the summons
relains all 4 and « pt any relating to the summons of to the service of the summons}, and may later object tc the jurisdiction of the
court or to tha piace where the action has been brought.

A defendant who waives service must wilhin ihe time specified on ihe waiver form serve on the plaintiffs altomey (or unrepresented plaintiff) a
tespanse to the complaint and must also file a signed copy of the response with the court, Ifthe answer or motion is not served within this time, a default

may be taken against that defendant. By waiving service, a defendant is allowed mare time to angwer than if the summons had been ‘actually
served when ihe request for waiver of service was recaived.

Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 24 of 32
AQ 389 (Rev. 10/95)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 655 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

{DEFENDANT NAME}

| Omaha Indemnity Co , acknowledge receipt of your request

that | waive service of summons in the action of Commie Abadie, et al _v. Aegis, etal |

(CAPTIGN OF ACTION}
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

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the manner provided by Rule 4.

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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that 4 judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 9 io) S$ | Oe :
(DATE REQUEST WAS SENT)

or within 90 days after that date if the raquest was sent outside the United States.

SERVED ON

HELEN CUMBO Gl 2. (1, De

DATE SFP 9 6 DCR TURE ,

Printed/Typed Name:

ADMINISTRATOR

As vigicggaba indemnity Co
COMMERCH wt (CORPORATE DEFENDANT}

Duty to Avold Unnecessary Costs of Service of Summons

Rule 4 of ihe Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecassary costs of service of the summons and
complaint. A defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States ta waive
service of 4 summons, fails to do so will be required to bear ihe cast of such service unless good cause be shown for its failure to sign and reium the

waner. It is not good cause for a failure 1o waive service that a party believes that ihe complaint i¢ unfounded, or that the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its persan or property A party waives service of tha summons
retains all defenses and objections (except any relating to the summons or io the service of the summons), and may later object to the jurisdiction of tha
court of to the place whera the action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintif's attomey (or unrepresented plaintiff) a
response to the complaint and must alsa fila 4 signed copy of ihe response with the court. ff ihe answer or motion is not served within this time, a default
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served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 25 of 32

AQ 389 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

TO: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

I Republic Lloyds , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of CORRie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
{DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf | am acting} be served with judicial process in
the manner provided by Rule 4.

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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after 9 \ o S | Ole
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

SERVED ON
HELEN CUMBO ‘/, f (Le
DATE SIGNATURE —~

Printed/Typed EP 26 2006

As ADMINISTRATO Republic Lloyds
COMMERCIAL DIVISION corporate verenpant,

Outy to Avoid Unnecessary Costs of Sarvice of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of tha summons and
complaint. A defendant located in the United Staies who, after being notified of an action and asked by 9 plaintiff located in the United States to waive
service of a summons, fails to do so will be required ta bear the cost of such service unless good cause be shown for its failure to sign and retum the
WAIVE § is nol. good cause for a failure to waive servics that a party believes that the complaint [s unfounded, or that the action has been broughl in an
improper place of in a court that lacks jurisdiction over the subject matter of the action or over its person or property A party waives service of Ihe summons
retains all defenses and objections (except any refating to the summons or to the service of the summons}, and may later abject to ihe jurisdiction of the
courl or ta the place where the action has been brought

A defendant who waives service must within the time specified on the waiver form serve on the plaintiff's attorney (or unrepresented plaintiff) a
response to the complaint and must also file a signed copy of the response with tha courL If the anewer ar motion is nol served within this time, a default
judgment may be taken against that defendant, By waiving servica, a defendant is allowed more time to answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 26 of 32

AO 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| Security Plan Fire , acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)

which is case number 06-5164 in the United States District Court
{DOCKET NUMBER)

for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behaif | am acting) be served with judicial process in
the manner provided by Rule 4.

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the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behaif | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after G aS i Ol
(DATE REQUEST WAS SENT)

or within 90 days afier that date if the request was sent outside the United States.

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HELEN CUMBO Ml p. () p

DATE SIGNATURE
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As ADMINISTRA; OSecurity Plan Fire

COMMERCIAL DIVISIO RRPORATE DEFENDANT)

Duty to Avoid Unnecessary Costs af Service of Summons

Rule 4 of the Federal Rules of Clvil Procedure requires certain parties to cooperate in saving unnecessary costs of service of tha summons and
complain A defendant located in the United States who, after being notiied of an action and asked by 4 plaintiff located in the Linited States to waive
service of a summons, falls to do so will be required to bear the cost of such service unless good cause be shown for its faiture to sign and cetum the

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served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 27 of 32
AO 200 (Rew 10785)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

1 Republic Underwrit , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER}
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that I (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (oF the entity on whose behalf | am acting) will retain all defanses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after G las OC
{DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

SERVED ON
HELEN CUMBO

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COMMERCIAL DIVRUQR ic underwrit

(TITLE) (CORPGRATE DEFENDANT)

DATE

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Duty te Avold Unnecessary Costs of Service of Summons

Rule 4 of the Federal Rules of Civil Procedura requires certain parties to cooperate in saving unnecessary costs of service of the summons and
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Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 28 of 32

AO 389 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

Metro Direct Prop , acknowledge receipt of your request
(GEFENDANT NAME)

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

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by which 1 can return the signed waiver to you without cost to me.

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service of the summons.

| understand that a judgment may be entered against me (or the party on laa am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after g 2510
(DATE REQUEST WAS SENT)

or within 90 days after that date if the request was sent outside the United States.

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HELEN CUMBO ( (1,9,

DATE SEP ? 6 ZUG genaTure .

Printed/Typed Name:
ADMINISTRATOR
As VI Sd OMetro Direct Prop
ie) {CORPORATE DEFENDANT)

Duty to Avoid Unnecessary Caste of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and
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court of to the place where the action has been brought.

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. Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 29 of 32
0 208 Re. 1085)
WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 655 Baronne Street, New Orleans, LA 70113
(NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

| American Genl Prop , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

{CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
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if an answer or motion under Rule 12 is not served upon you within 60 days after FG 25 OC 1

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or within 90 days after that date if the request was sent outside the United States.
SERVED ON
HELENCUMBO C/) hemp
DATE SIGNATURE -

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IMERO OTe American Geni Prop
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QO NCorPorATE DEFENDANT}

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Duty ta Avoid Unnecessary Costs of Service of Summons

Rute 4 of the Federal Rules of Civil Procedure requires certain parties 1c cooperata in saving unnecessary costs of service of the summons and
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court of to the place where the action has been brought.

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Judgment may be taken against that defendant. By waiving service, a defendant is allowed more time to answer than # tha summons had been actually
served when the request for waiver of service was recaived.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 30 of 32

AQ 399 (Rev. 10/95}

WAIVER OF SERVICE OF SUMMONS
Joseph M. Bruno

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
(NAME GF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF}

I Hanover Ins Co _ acknowledge receipt of your request
(DEFENDANT NAME)

that | waive service of summons in the action of Commie Abadie, et al v. Aegis, etal —

(CAPTION OF ACTION)
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can retum the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
lawsuit by not requiring that | (or the entity on whose behalf I am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 712 is not served upon you within 60 days after 9 [ as { OW
(DATE REQUEST WAS SENT}

or within 90 days after that date if the request was sent outside the United States.

SERVED ON

HELEN CUMBO We Z,.. Qe

DATE SEP 2 6 Pape

Printed/Typed Name:
con NIST RATOR Hanover Ins Co
ver Fl
As (TITLE) ivi StOtibarorare DEFENDANT}

Duty to Avold Unnecessary Coats of Service of Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain parlies to cooperate in saving unnaceassary costs of service of the summons and
complaint. A defendant located in tha United States who, afler being notified of an action and asked by a plaintiff located in the United States to waive
service of a summons, fails to do a will be required to bear the cast of such service unlass good causa be shown for ils failure to sign and reium the
‘waver. It is not good cause for a failure io waive service that a party believes thal the complaint is unfounded, of thal the action has been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action of over its person or property A parly waives service of the summons
retains all defenses and objections (except any relating to the summons of ta tha service of the summons), and may later object to the jurisdiction of tha
court or fo the placa where the action has been Brought,

A defendant who walves service must within the time specified on the waiver form serve on the plaintiff's attomeay {or unrepresented plaintiff) a
response to the complaint and must also file a signed copy of tra response with the cour If tis answer or motion is nat served within this time, a dafaut
judgment may be taken agains! that dafendant. By waiving service, a defendant is allowed more time to answer then if the summons had been actualy
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 31 of 32

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AQ 389 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

Joseph M. Bruno

TO: Joseph M. Bruno, 655 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

1 First Am Ins Co , acknowledge receipt of your request
(DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al v. Aegis, etal |

{CAPTION OF ACTION}
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Bastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which / can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this
iawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rute 4.

I (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to

the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting)

if an answer or motion under Rule 12 is not served upon you within 60 days after NBS lowe
(DAFE REQUEST WAS SENT}

or within 90 days after that date if ihe request was sent outside the United States.

Weten Cerne be

HELEN CUMBO
DATE SEP 2-652 Btre a

Printed/Typed Na . 5 R
AS COMMERCIAL DIVISION: Am Ins Co
(TITLE) {CORPORATE GEFENDANT)

Outy to Avold Unnecessary Costs of Service of Summons

Rule 4 of the Fedaral Rules of Civil Procedure requires certain parties to cooperate In saving unnecessary costs of service of the summons and
complaint A defendant located in the Uniled States who, after being notified of an action and asked by 2 olaintiff located in the Linked States to waive
service of 4 summons, fails to do so will be required to bear the cost of such service unless good cause be shown for its failure ta sign and ratum the

aiver.
It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that ihe action has been brought in an
improper place ar ina court that lacks jurisdiction over the subject matter of the action or over its person of property A party weives service of tha summons
retains ai! defenses and objections (except any relating to ihe summons or to the service of tha summons), and may later object to the jurisdiction of the
court or to the placa where tha action has been brought.

A defendant who waives service must within the tine specified on ths waiver form serve on the plaintiff's attomey (or unrapresentad plaintif) a
response to the complaint and must also fite a signed copy of tha response with the courL If the answer or motion is not served within this time, a default
Jdgment may be taken against ihat defendant. By waiving service, a defendant is allewed more time to answer than if the summons had been actually
served when the request for waiver of service was received.
Case 2:05-cv-04182-SRD-JCW Document 1436 Filed 10/20/06 Page 32 of 32

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AQ 399 (Rev. 10/95)

WAIVER OF SERVICE OF SUMMONS

To: Joseph M. Bruno, 855 Baronne Street, New Orleans, LA 70113
{NAME OF PLAINTIFF'S ATTORNEY OR UNREPRESENTED PLAINTIFF)

1 American NatnlProp , acknowledge receipt of your request
{DEFENDANT NAME}

that | waive service of summons in the action of Connie Abadie, et al _v. Aegis, etal |

{CAPTION OF ACTION}
which is case number 06-5164 in the United States District Court
(DOCKET NUMBER)
for the Eastern District of Louisiana

| have also received a copy of the complaint in the action, two copies of this instrument, and a means
by which | can return the signed waiver to you without cost to me.

| agree to save the cost of service of a summons and an additional copy of the complaint in this

lawsuit by not requiring that | (or the entity on whose behalf | am acting) be served with judicial process in
the manner provided by Rule 4.

| (or the entity on whose behalf | am acting) will retain all defenses or objections to the lawsuit or to
the jurisdiction or venue of the court except for objections based on a defect in the summons or in the
service of the summons.

| understand that a judgment may be entered against me (or the party on whose behalf | am acting}

if an answer or motion under Rule 12 is not served upon you within 60 days after q 2S | a&

{DATE REQUEST WAS SENT)
or within 90 days after that date if the request was sent outside the United States.
SERVED oro
HELEN CUMBO
Sep 26 206 Ve fo (be Mce—
DATE —_e SIGNATURE
Painted aR MPNASTRATOR
1, _ COMMERCIAL DIVISION, watniprop
(TITLE) (CORPORATE DEFENDANT)

Outy to Avold Unnecessary Costs of Service of Summons

_ Rule 4 of the Fedaral Rules of Civil Procedure requires certain parties to cooperale in saving unnecessary costs of service of the summons and
oe 1 Ad t located in the United States who, after being notified of an action and asked by & plaintiff located in ihe United States to waive
service of a summons, faits to do sc will ba required to bear the cost of such service unless good cause be shown for its faliura to sign and retum the
WaIVES. | nat goad cause for a failure to waive service thal a party believes that the complaint is unfounded, or that the action hae been brought in an
improper place or in a court that lacks jurisdiction over the subject matter of the action or over its persan or property A party waives service of the summons
retains all defenses and objections (except any relating to ihe summons or to the service of the summons), and may later object te the jurisdiction of the
court or to the place where the action has been brought.

A defendant who waives service must within {he tima specified on the waiver form serve on the plaintiff's attomey (or unrepresented plaintiff) a
response fo ihe complaint and must also fila a signed copy of the rasponsa with the court. If the answer or motion is not served within this time, a default
judgment may be taken against that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had bean actually
served when the request for waiver of service was received.

